
221 Md. 616 (1960)
157 A.2d 280
HINES
v.
WARDEN OF MARYLAND PENITENTIARY
[P.C. No. 71, September Term, 1959.]
Court of Appeals of Maryland.
Decided January 19, 1960.
 
Before BRUNE, C.J., and HENDERSON, HAMMOND, PRESCOTT and HORNEY, JJ.
PER CURIAM:
It appearing that at the hearing below a question not referred to in the petition was raised as to whether or not the applicant was entitled to a belated appeal, that this question was not passed upon by the trial court and that a letter there referred to in connection with this matter was not produced, though it was later found among the records of the trial court, it is ORDERED this 19th day of January, 1960, that leave to appeal be and it is hereby granted and the case is remanded to the Criminal Court of Baltimore for consideration, and leave is granted to the applicant to amend his petition so as to present said question, without prejudice to further consideration by this Court of other questions presented by his application for leave to appeal, if said application should be renewed.
